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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

FEDERAL TRADE COMMISSION,

      Plaintiff,

v.                                                   Case No. 6:20-cv-52-RBD-DCI


GRAND BAHAMA CRUISE LINE,
LLC; ULTIMATE VACATION
GROUP, LLC; TROPICAL
ACCOMMODATIONS LLC; VSC,
LLC; CABB GROUP, LLC; FLORIDA
V.S.C. INC.; JOHNATHAN BLAKE
CURTIS; ANTHONY DIGIACOMO;
CHRISTOPHER A. COTRONEO;
CHRISTINA R. PETERSON; and
ROBERT J. PETERSON, II,

      Defendants.
____________________________________

 ORDER FOR PERMANENT INJUNCTION AND MONETARY JUDGMENT

      Before the Court is the Unopposed Motion to Approve (Proposed)

Stipulated Order for Permanent Injunction and Monetary Judgment (Doc. 48

(“Stipulated Agreement”).) On review, the Stipulated Agreement is approved, and

the requested relief is entered as follows.

      Plaintiff, the Federal Trade Commission (“Commission” or “FTC”), filed its

Complaint    for   civil   penalties,   permanent   injunction,   and   other   relief

(“Complaint”), pursuant to Sections 5(a), 5(m)(1)(A), 13(b), 16(a) and 19 of the
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Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b),

56(a) and 57(b), and Section 6 of the Telemarketing and Consumer Fraud and

Abuse Prevention Act (the “Telemarketing Act”), 15 U.S.C. § 6105 against

Johnathan Blake Curtis, Anthony DiGiacomo, Grand Bahama Cruise Line, LLC,

Ultimate Vacation Group d/b/a Royal Bahama Cruise Line, LLC, Tropical

Accommodations, LLC also d/b/a Grand Celebration Cruise Line, VSC, LLC, and

Florida V.S.C. Inc. Plaintiff and Settling Defendants stipulate to the entry of this

Stipulated Final Order for Permanent Injunction and Civil Penalty Judgment

(“Order”) to resolve all matters in dispute in this action between them.

      THEREFORE, IT IS ORDERED as follows:

                                   FINDINGS

       1.    This Court has jurisdiction over this matter.

       2.    The Complaint charges that Defendants participated in unfair acts or

             practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45 and

             the FTC’s Telemarketing Sales Rule (the “TSR” or “Rule”, as

             amended, 16 C.F.R. Part 310, by, among other things, assisting and

             facilitating: (a) placing telemarketing calls to consumers that

             delivered prerecorded messages; (b) placing telemarketing calls to

             consumers whose telephone numbers were on the National Do Not

             Call (“DNC”) Registry; and (c) transmitting inaccurate caller ID

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             numbers and names with their telemarketing calls.

       3.    Settling Defendants neither admit nor deny any of the allegations in

             the Complaint, except as specifically stated in this Order. Only for

             purposes of this action, Settling Defendants admit the facts necessary

             to establish jurisdiction.

       4.    Settling Defendants waive any claim that they may have under the

             Equal Access to Justice Act, 28 U.S.C. § 2412, concerning the

             prosecution of this action through the date of this Order, and agree

             to bear their own costs and attorney fees.

       5.    Settling Defendants waive all rights to appeal or otherwise challenge

             or contest the validity of this Order.

                                  DEFINITIONS

      For the purposes of this Order, the following definitions apply:

            “Corporate Defendants” means Grand Bahama Cruise Line, LLC;

            Ultimate Vacation Group, LLC, also d/b/a Royal Bahama Cruise Line,

            LLC; Tropical Accommodations LLC, also d/b/a; Grand Celebration

            Cruise Line; VSC, LLC; and Florida V.S.C. Inc., and their successors

            and assigns.

            “Established Business Relationship” means a relationship between a

            Seller and a person based on: (a) the person’s purchase, rental, or lease

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           of the Seller’s goods or services or a financial transaction between the

           Seller and person, within the eighteen months immediately preceding

           the date of the Telemarketing call; or (b) the person’s inquiry or

           application regarding a product or service offered by the Seller, within

           the three months immediately preceding the date of a Telemarketing

           call.

           “Individual Defendant” or “Individual Defendants” means

           Johnathan Blake Curtis and Anthony DiGiacomo, individually and

           collectively.

           “Lead Generator” means any person that provides, in exchange for

           consideration, consumer information to a Seller or Telemarketer for

           use in the Telemarketing of any goods or services.

           “National Do Not Call Registry” means the National Do Not Call

           Registry, which is the “do-not-call” registry maintained by the

           Commission pursuant to 16 C.F.R. § 310.4(b)(1)(iii)(B).

           “Outbound Telephone Call” means a telephone call initiated by a

           telemarketer to induce the purchase of goods or services or to solicit a

           charitable contribution.

           “Seller” means any person who, in connection with a Telemarketing

           transaction, provides, offers to provide, or arranges for others to

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           provide goods or services to the customer in exchange for

           consideration, whether or not such person is under the jurisdiction of

           the Commission.

           “Settling Defendant” or “Settling Defendants” means the Individual

           Defendants and Corporate Defendants, individually, collectively, or

           in any combination.

           “Telemarketing” means a plan, program, or campaign which is

           conducted to induce the purchase of goods or services or a charitable

           contribution, by use of one or more telephones and which involves

           more than one interstate telephone call.

                                       ORDER

      I.    PERMANENT BAN ON ROBOCALLS

      IT IS ORDERED that Settling Defendants, whether acting directly or

through an intermediary, are permanently ENJOINED from:

           Engaging in, or assisting others to engage in, or assisting others

           engaging in, the initiation of any Outbound Telephone Call that

           delivers a prerecorded message, unless such Defendant proves that

           such prerecorded message was delivered for the purposes of Section

           II.C.3 of this Order.




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             Controlling, holding a managerial post in, consulting for, serving as

             an officer in, having any revenue sharing agreement with, or holding

             any ownership interest, share, or stock in any company that engages

             in conduct prohibited in paragraph A of this Section.

       II.   PROHIBITIONS ON ABUSIVE TELEMARKETING

      IT IS FURTHER ORDERED that Settling Defendants, their agents, and

employees, and all other persons in active concert or participation with any of

them, who receive actual notice of this Order, whether acting directly or indirectly,

in connection with Telemarketing, are permanently ENJOINED from engaging in,

causing others to engage in, or assisting others engaging in any of the following

practices:

             Initiating any Outbound Telephone Call to any telephone number

             listed on the National Do Not Call Registry, unless the Settling

             Defendant proves that the call was placed on behalf of a Seller to a

             person from whom the Seller had:

             1.    Obtained the express agreement, in writing, of such person to

                   place calls to that person—such written agreement must clearly

                   evidence such person’s authorization that calls made by or on

                   behalf of the Seller may be placed to that person, and must




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                  include the telephone number to which the calls may be placed

                  and the signature of that person; or

            2.    An Established Business Relationship with such person, and

                  that person has not stated that he or she does not wish to receive

                  Outbound Telephone Calls made by or on behalf of the Seller

                  or Telemarketer.

           Initiating any Outbound Telephone Call to a person when that person

           has previously stated that he or she does not wish to receive an

           Outbound Telephone Call made by or on behalf of either the Seller

           whose goods or services are being offered, or made by or on behalf of

           the charitable organization for which a charitable contribution is being

           solicited.

           Abandoning any Outbound Telephone Call to a person by failing to

           connect the call to a live operator within two seconds of the person’s

           completed greeting, unless the Settling Defendant proves that the

           following four conditions are met:

            1.    The caller, for each telemarketing call placed, allows the

                  telephone to ring for at least fifteen second or four rings before

                  disconnecting an unanswered call;




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               2.     Whenever a live operator is not available to speak with the

                      person answering the call within two seconds after the person’s

                      completed greeting, the caller promptly plays a recorded

                      message that states the name and telephone number of the

                      seller or charitable organization on whose behalf the call was

                      placed; and

               3.     The caller retains records, in accordance with 16 C.F.R. §

                      310.5(b)−(d), establishing compliance with the preceding three

                      conditions.

               Failing to disclose truthfully, promptly and in a clear and conspicuous

               manner, the identity of the Seller, that the purpose of the call is to sell

               goods or services, and the nature of the goods or services.

               Failing to transmit or cause to be transmitted to any Caller

               Identification Service in use by a recipient of a telemarketing call:

               (i) the telephone number of the telemarketer making the call, or the

               telephone number for customer service of the seller on whose behalf

               the call is made; and (ii) when made available by the telemarketer’s

               carrier, the name of the telemarketer or seller to any Caller

               Identification Service in use by a recipient of a telemarketing call. 1


      1   In the proposed injunction attached to the Stipulated Agreement, the parties proposed
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        III.    LEAD GENERATOR REVIEW, NOTICE AND TERMINATION

        IT IS FURTHER ORDERED that:

               Settling Defendants shall, within ninety (90) days of the date of entry

               of this Order:

                1.      Review and determine the methods used by Settling

                        Defendants’ existing Lead Generators to obtain the leads sold

                        or offered for sale to Settling Defendants and, if those leads

                        were obtained by means of an Outbound Telephone Call that

                        does not comply with this Order, Settling Defendants shall

                        immediately cease purchasing leads from the Lead Generator

                        unless and until Settling Defendants confirm that the Lead

                        Generator is in compliance pursuant to the requirements

                        specified in Section III.B below;

                2.      Provide, electronically or otherwise, Settling Defendants’

                        existing Lead Generators that use Outbound Telephone Calls to




additional language in this section prohibiting the Settling Defendants from “Violating the
Telemarketing Sales Rule, l6 C.F.R. Part 310, a copy of which is attached to this Order as
Attachment A.” (Doc. 48-1, p. 6.) This language exhorts Settling Defendants merely to “obey the
law,” which constitutes an overly broad, unenforceable provision in an injunction. See SEC v.
Graham, 823 F.3d 1357, 1362 n.2 (11th Cir. 2016); see also Fla. Ass’n of Rehab. Facilities, Inc. v. State of
Fla. Dep’t of Health & Rehab. Servs., 225 F.3d 1208, 1223 (11th Cir. 2000) (“An injunction must be
framed so that those enjoined know exactly what conduct the court has prohibited and what steps
they must take to conform their conduct to the law.”). As such, the Court rejects this proposed
language.
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                  generate leads with: (i) a copy of this Order; and (ii) a written

                  notice stating that, if such Lead Generator sells any leads to

                  Settling Defendants that do not comply with this Order, Settling

                  Defendants will immediately cease purchasing leads from such

                  Lead Generator; and

            3.    Obtain from all of Settling Defendants’ existing Lead

                  Generators that have been provided notice pursuant to Section

                  III.A.2 above, an electronic acknowledgment or other signed

                  and dated statement acknowledging receipt of this Order and

                  the written notice set forth in the preceding subparagraph.

            Prior to purchasing leads from any new Lead Generator, Settling

            Defendants shall:

            1.    Review and determine the methods used by the Lead Generator

                  to obtain leads offered for sale to Settling Defendants and, if

                  those leads were obtained by means of a telephone call that

                  does not comply with this Order, Settling Defendants are

                  prohibited from purchasing such leads;

            2.    For any Lead Generator previously terminated pursuant to

                  Section III.A.1 above, conduct additional reviews, as specified




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                   in Section III.B.1 above, on a quarterly basis for one (1) year to

                   ensure continued compliance with this Order;

             3.    Provide, electronically or otherwise, Settling Defendants’ Lead

                   Generators that use Outbound Telephone Calls to generate

                   leads with: (i) a copy of this Order; and (ii) a written notice

                   stating that, if such Lead Generator sells any leads to Settling

                   Defendants that do not comply with this Order, Settling

                   Defendant will immediately cease purchasing leads from such

                   Lead Generator; and

             4.    Obtain from each new Lead Generator provided notice

                   pursuant to Section III.B.3 above an electronic acknowledgment

                   or other signed and dated statement acknowledging receipt of

                   this Order and the written notice set forth in the preceding

                   subparagraph.

       IV.   MONETARY JUDGMENT FOR CIVIL PENALTY AND PARTIAL
             SUSPENSION

       IT IS FURTHER ORDERED that:

             Judgment in the amount of Six Million, Four Hundred Thousand

             Dollars ($6,400,000) is entered in favor of Plaintiff against Settling




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            Defendants, jointly and severally, as a civil penalty. The judgment is

            suspended subject to the subsections below.

            Individual Defendant Johnathan Blake Curtis is ordered to pay to

            Plaintiff, by making payment to the Treasurer of the United States,

            Fifty Thousand Dollars ($50,000.00). Such payment must be made

            within seven days of entry of this Order by electronic fund transfer in

            accordance with instructions previously provided by a representative

            of Plaintiff. Upon such payment, the remainder of the judgment is

            suspended, subject to the Subsections below.

            Individual Defendant Anthony DiGiacomo is ordered to pay to

            Plaintiff, by making payment to the Treasurer of the United States,

            Fifty Thousand Dollars ($50,000.00). Such payment must be made

            within seven days of entry of this Order by electronic fund transfer in

            accordance with instructions previously provided by a representative

            of Plaintiff. Upon such payment, the remainder of the judgment is

            suspended, subject to the Subsections below.

            Plaintiff’s agreement to the suspension of part of the judgment is

            expressly   premised    upon    the   truthfulness,   accuracy,    and

            completeness of Individual Defendants’ sworn financial statements




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            and related documents (collectively, “financial representations”)

            submitted to the Commission, namely:

            1.    the Financial Statement of Individual Defendant Johnathan

                  Blake Curtis dated February 10, 2020, including all attachments

                  and supplemental materials submitted thereto by Individual

                  Defendant Johnathan Blake Curtis’ counsel Mitchell Roth to

                  Commission counsel on February 10, 2020;

            2.    the Revised Financial Statement of Individual Defendant

                  Johnathan Blake Curtis signed and initialed on January 14, 2021,

                  including the Updated Financial Disclosure Submitted by

                  Johnathan Curtis and signed on January 13, 2021, and all

                  attachments and supplemental materials submitted thereto by

                  Individual Defendant Johnathan Blake Curtis’ counsel Mitchell

                  Roth to Commission counsel on January 14, 2021;

            3.    the sworn deposition testimony provided by Individual

                  Defendant Johnathan Blake Curtis on May 26, 2021;

            4.    the Financial Statement of Individual Defendant Anthony

                  DiGiacomo signed on February 24, 2020, including all

                  attachments and supplemental materials submitted thereto by




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                  Individual Defendant Anthony DiGiacomo’s counsel Mitchell

                  Roth to Commission counsel on February 24, 2020;

            5.    the Revised Financial Statement of Individual Defendant

                  Anthony DiGiacomo signed and initialed on January 7, 2021,

                  including the Updated Financial Disclosure Submitted by

                  Anthony DiGiacomo and signed on January 7, 2021, and all

                  attachments and supplemental materials submitted thereto by

                  Individual Defendant Anthony DiGiacomo’s counsel Mitchell

                  Roth to Commission counsel on January 7, 2021; and

            6.    the sworn deposition testimony provided by Individual

                  Defendant Anthony DiGiacomo on May 27, 2021.

            The suspension of the judgment will be lifted as to each Individual

            Defendant if, upon motion by the Commission, the Court finds that

            Individual Defendant failed to disclose any material asset, materially

            misstated the value of any asset, or made any other material

            misstatement or omission in the financial representations identified

            above.

            If the suspension of the judgment is lifted, the judgment becomes

            immediately due as to that Individual Defendant in the amount

            specified in Subsection A above (which the parties stipulate only for


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            purposes of this Section represents the amount of the civil penalty for

            the violations alleged in the Complaint), less any payment previously

            made pursuant to this Section, plus interest computed from the date

            of entry of this Order.

            Settling Defendants agree that the judgment represents a civil penalty

            owed to the government of the United States, is not compensation for

            actual pecuniary loss, and, therefore it is not subject to discharge

            under the Bankruptcy Code pursuant to 11 U.S.C. § 523(a)(7).

            Settling Defendants relinquish dominion and all legal and equitable

            right, title, and interest in all assets transferred pursuant to this Order

            and may not seek the return of any assets.

            The facts alleged in the Complaint will be taken as true, without

            further proof, in any subsequent civil litigation by or on behalf of the

            Commission, including in a proceeding to enforce its rights to any

            payment or monetary judgment pursuant to this Order.

            Each Individual Defendant acknowledges that his Social Security

            Number, which he has submitted to the Commission, may be used for

            collecting and reporting on any delinquent amount arising out of this

            Order, in accordance with 31 U.S.C. §7701.

       V.   CUSTOMER INFORMATION

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       IT IS FURTHER ORDERED that Settling Defendants are permanently

 ENJOINED from directly or indirectly disclosing, using, or benefitting from

 customer information, including the name, address, telephone number, email

 address, social security number, other identifying information, or any data that

 enables access to a customer’s account (including a credit card, bank account, or

 other financial account), that any Defendant obtained prior to entry of this Order

 in connection with the telemarketing of cruise vacations.

       VI.   COOPERATION

       IT IS FURTHER ORDERED that Individual Defendants Curtis and

 DiGiacomo must fully cooperate with representatives of the Commission in this

 case and in any investigation related to or associated with the transactions or the

 occurrences that are the subject of the Complaint. Settling Defendants must

 provide truthful and complete information, evidence, and testimony. Settling

 Defendants must appear for interviews, discovery, hearings, trials, and any other

 proceedings that a Commission representative may reasonably request upon ten

 days written notice, or other reasonable notice, at such places and times as a

 Commission representative may designate, without the service of a subpoena.

       Further, to assist the Commission with any investigation related to or

 associated with the transactions or the occurrences that are the subject of the

 Complaint, and with monitoring Settling Defendant’s compliance with this order,

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 Settling Defendants consent, for purposes of the Electronic Communications

 Privacy Act, to the disclosure, by electronic communications service providers and

 remote computing service providers, of the contents of their auto-dialed,

 telemarketing, or pre-recorded telephone communications and records or other

 information pertaining to his autodialed, telemarketing, or pre-recorded

 telephone communications. Settling Defendants further agree to execute, within

 five days of a request from the Commission, any forms or other documents

 evidencing their consent that may be required by such electronic communications

 service providers or remote computing service providers.

       VII. ORDER ACKNOWLEDGMENTS

       IT IS FURTHER ORDERED that:

             Each Individual Defendant, within seven days of entry of this Order,

             must submit to the Commission an acknowledgment of receipt of this

             Order sworn under penalty of perjury.

             For five years after entry of this Order, Settling Defendants for any

             business that they, individually or collectively with any other

             Defendants, is the majority owner or controls directly or indirectly,

             must deliver a copy of this Order to: (1) all principals, officers,

             directors, and LLC managers and members; (2) all employees having

             managerial responsibilities for conduct related to the subject matter of

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            the Order and all agents and representatives who participate in

            conduct related to the subject matter of the Order; and (3) any business

            entity resulting from any change in structure as set forth in the Section

            titled Compliance Reporting. Delivery must occur within seven days

            of entry of this Order for current personnel. For all others, delivery

            must occur before they assume their responsibilities.

            From each individual or entity to which Settling Defendant delivered

            a copy of this Order, he must obtain, within thirty days, a signed and

            dated acknowledgment of receipt of this Order.

       VIII. COMPLIANCE REPORTING

       IT IS FURTHER ORDERED that Individual Defendants make timely

 submissions to the Commission:

            One year after entry of this Order, each Individual Defendant must

            submit a compliance report, sworn under penalty of perjury:

            1.    Each Individual Defendant must: (a) identify the primary

                  physical, postal, and email address and telephone number, as

                  designated points of contact, which representatives of the

                  Commission may use to communicate with Defendant;

                  (b) identify all of that Defendant’s businesses by all of their

                  names, telephone numbers, and physical, postal, email, and

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                  Internet addresses; (c) describe the activities of each business,

                  including the goods and services offered, the means of

                  advertising, marketing, and sales, and the involvement of any

                  other Defendant (which Individual Defendant must describe if

                  he knows or should know due to his own involvement);

                  (d) describe in detail whether and how that Defendant is in

                  compliance with each Section of this Order; and (e) provide a

                  copy of each Order Acknowledgment obtained pursuant to this

                  Order, unless previously submitted to the Commission.

            2.    Additionally, each Individual Defendant must: (a) identify all

                  telephone numbers and all physical, postal, email and Internet

                  addresses, including all residences; (b) identify all business

                  activities, including any business for which such Defendant

                  performs services whether as an employee or otherwise and

                  any entity in which such Defendant has any ownership interest;

                  and (c) describe in detail such Defendant’s involvement in each

                  such   business,    including    title,   role,   responsibilities,

                  participation, authority, control, and any ownership.




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            For fifteen years after entry of this Order, each Individual Defendant

            must submit a compliance notice, sworn under penalty of perjury,

            within fourteen days of any change in the following:

            1.    Each Individual Defendant must report any change in: (a) any

                  designated point of contact; or (b) the structure of any entity

                  that Individual Defendant has any ownership interest in or

                  controls directly or indirectly that may affect compliance

                  obligations arising under this Order, including: creation,

                  merger, sale, or dissolution of the entity or any subsidiary,

                  parent, or affiliate that engages in any acts or practices subject

                  to this Order.

            2.    Additionally, Individual Defendants must report any change

                  in: (a) name, including aliases or fictitious name, or residence

                  address; or (b) title or role in any business activity, including

                  any business for which Individual Defendant performs services

                  whether as an employee or otherwise and any entity in which

                  he has any ownership interest, and identify the name, physical

                  address, and any Internet address of the business or entity.




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             Each Individual Defendant must submit to the Commission notice of

             the filing of any bankruptcy petition, insolvency proceeding, or

             similar proceeding by or against it within fourteen days of its filing.

             Any submission to the Commission required by this Order to be

             sworn under penalty of perjury must be true and accurate and comply

             with 28 U.S.C. § 1746, such as by concluding: “I declare under penalty

             of perjury under the laws of the United States of America that the

             foregoing is true and correct. Executed on: _____” and supplying the

             date, signatory’s full name, title (if applicable), and signature.

             Unless otherwise directed by a Commission representative in writing,

             all submissions to the Commission pursuant to this Order must be

             emailed to DEbrief@ftc.gov or sent by overnight courier (not the U.S.

             Postal Service) to: Associate Director for Enforcement, Bureau of

             Consumer Protection, Federal Trade Commission, 600 Pennsylvania

             Avenue NW, Washington, DC 20580. The subject line must begin:

             “FTC v. Grand Bahama Cruise Line, LLC.”

       IX.    RECORDKEEPING

       IT IS FURTHER ORDERED that each Individual Defendant must create

 certain records for fifteen years after entry of the Order and retain each such record

 for five years. Specifically, Individual Defendants, for any business that they,

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 individually or collectively with any other Defendants, are a majority owner or

 control directly or indirectly, must create and retain the following records:

             accounting records showing the revenues from all goods or services

             sold;

             personnel records showing, for each person providing services,

             whether as an employee or otherwise, that person’s: name; addresses;

             telephone numbers; job title or position; dates of service; and (if

             applicable) the reason for termination;

             records of all consumer complaints and refund requests, whether

             received directly or indirectly, such as through a third party, and any

             response;

             all records necessary to demonstrate full compliance with each

             provision of this Order, including, among other documents and

             information:

              1.     all submissions to the Commission;

              2.     records of all Outbound Telephone Calls dialed by Defendant

                     or dialed on behalf of Defendant or his businesses by their

                     vendors, contractors, or Representatives, including for each

                     call: (a) the number called; (b) the caller ID number displayed;

                     (c) the time and date of the call; (d) the duration of the call; and

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                   (e) any telephone number or IP address to which the call was

                   forwarded or transferred; and

             a copy of each unique advertisement or other marketing material.

       X.    COMPLIANCE MONITORING

       IT IS FURTHER ORDERED that, for the purpose of monitoring Settling

 Defendants’ compliance with this Order, including the financial representations

 upon which part of the judgment was suspended, and any failure to transfer any

 assets as required by this Order:

             Within fourteen days of receipt of a written request from a

             representative of the Commission, Settling Defendants must: submit

             additional compliance reports or other requested information, which

             must be sworn under penalty of perjury; appear for depositions; and

             produce documents for inspection and copying. The Commission is

             also authorized to obtain discovery, without further leave of court,

             using any of the procedures prescribed by Federal Rules of Civil

             Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45,

             and 69.

             For matters concerning this Order, the Commission is authorized to

             communicate directly with Settling Defendants. Settling Defendants

             must permit representatives of the Commission to interview any

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            employee or other person affiliated with him who has agreed to such

            an interview. The person interviewed may have counsel present.

            The Commission may use all other lawful means, including posing,

            through its representatives as consumers, suppliers, or other

            individuals or entities, to Settling Defendants or any individual or

            entity affiliated with Settling Defendants, without the necessity of

            identification or prior notice. Nothing in this Order limits the

            Commission’s lawful use of compulsory process, pursuant to Sections

            9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.

       XI. RETENTION OF JURISDICTION

       IT IS FURTHER ORDERED that this Court RETAINS jurisdiction of this

 matter for purposes of construction, modification, and enforcement of this Order.

       IT IS SO ORDERED in Chambers in Orlando, Florida, on October 21, 2021.




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